Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 1 of 33




                   Exhibit A
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                              INDEX NO. 151710/2023
NYSCEF DOC. NO. 1 Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 2 of 33NYSCEF: 02/22/2023
                                                                      RECEIVED




          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK

          TOBIAS MOELLER-BERTRAM,                          )
          individually, and on behalf of all others        )     Index No. ___________
          similarly situated,                              )
                                                           )
                                Plaintiff,                 )     CLASS ACTION
                                                           )
                 v.                                        )
                                                           )     SUMMONS
          GEMINI TRUST COMPANY, LLC; and                   )
          DIGITAL CURRENCY GROUP, INC.                     )
                                                           )
                                Defendants.                )
                                                           )
                                                           )


          TO THE ABOVE-NAMED DEFENDANTS:

                 You are hereby summoned to answer the complaint in this action and to serve a copy of

          your answer or, if the complaint is not served with this summons, to serve a notice of appearance,

          on the plaintiff’s attorney within 20 days after the service of this summons, exclusive of the day

          of service (or within 30 days after the service is complete if this summons is not personally

          delivered to you within the State of New York); and in case of your failure to appear or answer,

          judgment will be taken against you by default for the relief demanded in the complaint.

                 The bases for venue are that: (a) Defendant Gemini Trust Company, LLC has its principal

          place of business in New York County; and (b) a substantial part of the events giving rise to the

          claims in this action occurred in New York County.




                                                       1 of 2
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                  INDEX NO. 151710/2023
NYSCEF DOC. NO. 1 Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 3 of 33NYSCEF: 02/22/2023
                                                                      RECEIVED




          DATED: February 22, 2023

                                                    HGT LAW

                                                            /s/ Hung G. Ta
                                                    Hung G. Ta, Esq.
                                                    JooYun Kim, Esq.
                                                    Natalia D. Williams, Esq.
                                                    250 Park Avenue, 7th Floor
                                                    New York, New York 10177
                                                    Tel: (646) 453-7288
                                                    Fax: (646) 453-7289
                                                    Email: hta@hgtlaw.com
                                                           jooyun@hgtlaw.com
                                                           natalia@hgtlaw.com


                                                    William R. Restis, Esq.
                                                    402 West Broadway, Suite 1520
                                                    San Diego, CA 92101
                                                    Tel: +1.619.270.8383
                                                    Email: william@restislaw.com

                                                    Attorneys for Plaintiff and Proposed Class
                                                    Counsel




                                                2
                                              2 of 2
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                               INDEX NO. 151710/2023
NYSCEF DOC. NO. 2 Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 4 of 33NYSCEF: 02/22/2023
                                                                      RECEIVED




          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK

          TOBIAS MOELLER-BERTRAM,                           )
          individually, and on behalf of all others         )     Index No. ___________
          similarly situated,                               )
                                                            )
                                Plaintiff,                  )     CLASS ACTION
                                                            )
                 v.                                         )
                                                            )     COMPLAINT FOR VIOLATION OF
          GEMINI TRUST COMPANY, LLC; and                    )     THE FEDERAL SECURITIES LAWS
          DIGITAL CURRENCY GROUP, INC.                      )
                                                            )
                                Defendants.                 )     JURY TRIAL DEMANDED
                                                            )
                                                            )


                 Plaintiff Tobias Moeller-Bertram, by and through his undersigned counsel, alleges the

          following against Defendants Gemini Trust Company, LLC (“Gemini”) and Digital Currency

          Group, Inc. (“DCG”). Plaintiff bases his allegations upon information and belief, except as to those

          allegations concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s

          information and belief are based upon, among other things, counsel’s investigation, which

          included: review and analysis of press releases, newsletters and other communications issued and

          disseminated by Defendants; media reports concerning Defendants; court filings in other litigation

          proceedings commenced against Defendants, including by the Securities and Exchange

          Commission (“SEC”); and other public information concerning Defendants.

                                               NATURE OF ACTION

                 1.      Plaintiff brings this class action (the “Action”) against Defendants under Sections

          5, 12 and 15 of the Securities Act of 1933 (the “Securities Act”), 15 U.S.C. §§ 77e, 77l, and 77o.

          This Action is brought on behalf of all investors (“Class”) who invested in securities offered by




                                                       1 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                                     INDEX NO. 151710/2023
NYSCEF DOC. NO. 2 Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 5 of 33NYSCEF: 02/22/2023
                                                                      RECEIVED




          Defendant Gemini through the so-called “Gemini Earn” program (“Offering”) conducted between

          approximately February 2021 and November 2022 (the “Class Period”).

                  2.      The Securities Act requires any security that is offered or sold to be registered with

          the SEC. The legislative purpose is to protect the public by requiring various disclosures so that

          investors can better understand the security that is being offered or sold. Under Section 2(a)(1) of

          the Securities Act (15 U.S.C. § 77b(a)(1)), a “security” is defined to include a “note” and an

          “investment contract.”

                  3.      Between February 2021 and November 2022, Defendants engaged in an

          unregistered offer and sale of securities to U.S. retail investors, in violation of the Securities Act.

          Through the “Gemini Earn” program, investors tendered crypto assets to non-party Genesis Global

          Capital, LLC (“Genesis”). In exchange, Genesis promised to pay interest on those assets to

          investors. Through this unregistered offering, Defendants raised billions of dollars of crypto assets,

          principally from U.S. retail investors.

                  4.      Under the Gemini Earn program, Genesis and Gemini required Gemini Earn

          investors to enter into a tri-party Master Digital Asset Loan Agreement with Genesis and Gemini

          (“Gemini Earn Agreement”). Under this agreement, Gemini provided retail investors with access

          to Genesis, which otherwise only engaged in crypto asset transactions with large institutional and

          other accredited investors. 1 Gemini Earn investors provided crypto assets to Genesis, with Gemini

          acting as the agent in the issuance.

                  5.      Genesis was the issuer and entity that received, pooled, deployed, and paid interest

          on investors’ assets. Genesis pooled the crypto assets from Gemini Earn investors with assets from



          1
                   “Accredited investors” are those persons whose financial sophistication and ability to sustain the
          risk of loss of investment render the protections of the Securities Act’s registration process unnecessary.
          See Rule 501(a) of the Securities Act, 17 C.F.R. § 230.501(a).



                                                              2
                                                          2 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                               INDEX NO. 151710/2023
NYSCEF DOC. NO. 2 Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 6 of 33NYSCEF: 02/22/2023
                                                                      RECEIVED




          other investors and then deployed the crypto assets, primarily by lending the crypto assets to

          institutional counterparties (“Institutional Borrowers”). Genesis earned revenue by lending the

          crypto assets at a higher rate than it paid to Gemini Earn and other investors. Genesis would send

          interest payments to Gemini, which would then deduct an “Agent Fee” before distributing the

          remainder of the interest payments to Gemini Earn investors.

                 6.      Both Gemini and Genesis marketed the Gemini Earn program through social media

          and Gemini’s website, touting the high interest rates that investors could earn through Gemini Earn.

          Gemini and Genesis both profited from the partnership and Offering.

                 7.      The Gemini Earn Agreements, as offered and sold through the Gemini Earn

          program, were securities that Genesis and Gemini offered and sold to the investing public.

                 8.      However, the Gemini Earn Agreements in which Plaintiff and the Class invested

          were neither registered as required under the Securities Act, nor subject to any exemption from

          registration. As a result, investors lacked material information about the Gemini Earn program that

          would have been relevant to their investment decisions.

                 9.      The U.S. retail investors who participated in the Gemini Earn program have

          suffered significant harm. In November 2022, Genesis unilaterally announced that it would not

          allow hundreds of thousands of retail investors to withdraw their crypto assets from the Gemini

          Earn program because of “withdrawal requests which have exceeded our current liquidity”

          following volatility in the crypto asset market. At the time, Genesis held approximately $900

          million in investor assets from approximately 340,000 Gemini Earn investors, most of whom

          reside in the United States. On January 20, 2023, Genesis filed for bankruptcy protection under

          Chapter 11 of the Bankruptcy Code, imperiling the investment funds of the putative Class.




                                                           3
                                                       3 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                               INDEX NO. 151710/2023
NYSCEF DOC. NO. 2 Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 7 of 33NYSCEF: 02/22/2023
                                                                      RECEIVED




                 10.     Defendants, as persons who offered the Gemini Earn Agreements, or who

          controlled persons who did so, violated the Securities Act and are liable to Plaintiff and the Class

          for rescission of their purchases, or for damages.

                                          JURISDICTION AND VENUE

                 11.     The claims asserted herein arise under and pursuant to Sections 5, 12 and 15 of the

          Securities Act (15 U.S.C. §§ 77e, 77l, and 77o). This Court has original subject matter jurisdiction

          of the claims in this Action under the New York Constitution, Article VI, § 7(a), and Section 22

          of the Securities Act (15 U.S.C. § 77v). Under Section 22 of the Securities Act, this Court has

          concurrent jurisdiction with the federal courts with respect to claims brought under the Securities

          Act, and any action asserting such claims that is brought in a state court of competent jurisdiction

          may not be removed to federal court.

                 12.     This Court has personal jurisdiction over each Defendant named herein under N.Y.

          C.P.L.R. §§ 301 and 302.

                 13.     Venue is proper in New York County pursuant to N.Y. C.P.L.R. § 503 because one

          or more of the Defendants resides in New York County, and because a substantial part of the events

          giving rise to the claims in this Action occurred in New York County.

                                                      PARTIES

                 14.     Plaintiff Moeller-Bertram is an individual who invested in the Gemini Earn

          program.

                 15.     Defendant Gemini Trust Company, LLC is a New York limited liability trust

          company founded in 2014. Gemini is beneficially owned and controlled by Cameron and Tyler

          Winklevoss through Winklevoss Capital Fund, LLC. Gemini’s principal place of business is in

          New York, New York. Gemini is registered as a New York limited purpose trust company with

          the New York State Department of Financial Services (“NYSDFS”).



                                                           4
                                                       4 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                                       INDEX NO. 151710/2023
NYSCEF DOC. NO. 2 Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 8 of 33NYSCEF: 02/22/2023
                                                                      RECEIVED




                  16.     Defendant Digital Currency Group, Inc. is a corporation formed and existing under

          and pursuant to the laws of Delaware. DCG currently maintains its principal place of business in

          Stamford, Connecticut. DCG maintained its principal place of business in New York, New York

          prior to moving it to Stamford, Connecticut.

                  17.     Non-party Genesis Global Capital, LLC is a Delaware limited liability company

          formed in 2017 and a wholly owned subsidiary of Genesis Global Holdco, LLC, which in turn is

          wholly owned by DCG. Genesis’s principal place of business is in Jersey City, New Jersey.

          Genesis is registered with the Financial Crimes Enforcement Network (“FinCEN”) as a money

          services business (i.e., money transmitter). Genesis is the issuer of securities under the Gemini Earn

          program.

                                            SUBSTANTIVE ALLEGATIONS

          I.      THE OFFERING OF GEMINI EARN INVESTMENTS

                  18.     In March 2018, non-party Genesis began obtaining crypto assets 2 from large

          institutional and other accredited investors in exchange for a promise to pay interest on those

          investors’ crypto assets. Genesis used these crypto assets to lend to Institutional Borrowers,

          generating interest revenue. Genesis earned a profit by lending the crypto assets to Institutional

          Borrowers at a higher rate than it paid to its investors. Genesis pooled the investors’ crypto assets

          and exercised discretion over how to deploy the assets to earn income.

                  19.     Eventually, Genesis expanded its business model to transact with not just

          institutional and accredited investors, but also retail investors. In particular, in December 2020,



          2
                  The term “crypto asset” generally refers to an asset that is issued and transferred using distributed
          ledger or blockchain technology, including, but not limited to, so-called “cryptocurrencies,” “coins,” and
          “tokens.” A blockchain or distributed ledger is a peer-to-peer database spread across a network of
          computers that records all transactions in theoretically unchangeable, digitally recorded data packages. The
          system relies on cryptographic techniques for secure recording of transactions.



                                                               5
                                                           5 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                                INDEX NO. 151710/2023
NYSCEF DOC. NO. 2 Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 9 of 33NYSCEF: 02/22/2023
                                                                      RECEIVED




          Genesis entered into an agreement with Gemini to offer Gemini customers, including U.S. retail

          investors, an opportunity to tender their crypto assets to Genesis in exchange for Genesis’s promise

          to pay interest.

                  20.        Commencing in February 2021, Genesis and Gemini began offering the Gemini

          Earn program to retail investors in the United States and Hong Kong, and later, investors in

          Singapore. There was no minimum investment amount to be eligible to participate in the Gemini

          Earn program. As of November 16, 2022, approximately 340,000 retail investors, most residing in

          the United States, had crypto assets invested with Genesis through the Gemini Earn program. By

          November 2022, the value of retail investors’ crypto assets held by Gemini exceeded the collective

          value of those tendered by institutional and accredited investors.

                  21.        Each Gemini Earn investor entered into a tri-party Gemini Earn Agreement with

          Gemini and Genesis. The agreement was a standard agreement and not individually negotiated

          with Gemini Earn investors. Under the terms of the Gemini Earn Agreement, Gemini Earn

          investors first needed to hold eligible crypto assets with Gemini – either by transferring the crypto

          assets to Gemini or acquiring them via Gemini’s crypto asset trading platform. Through Gemini

          Earn, investors then tendered their crypto assets to Genesis, with Gemini acting as the agent for

          retail investors to facilitate the transaction. Gemini aggregated the crypto assets to be invested in

          the Gemini Earn program and placed them in a digital wallet. Genesis then took possession of the

          crypto assets in this digital wallet.

                  22.        Genesis determined the types and aggregate amount of each crypto asset that were

          eligible to be invested by Gemini Earn investors. Genesis offered and agreed to pay the Gemini

          Earn investors in-kind interest on the crypto assets they had invested, which accrued on a daily

          basis. On a monthly basis, Genesis could unilaterally revise the interest rates and the aggregate




                                                             6
                                                         6 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                               INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 10 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




          amount of each crypto asset that Gemini Earn investors could invest. In this manner, Genesis had

          sole discretion over the gross interest rate that it paid for each crypto asset.

                  23.     The returns that Gemini Earn investors earned came from Genesis, with Gemini

          deducting an Agent Fee from the returns. Gemini had sole discretion over its Agent Fee and thus

          the net rates of return offered to Gemini Earn investors.

                  24.     Gemini published the list of crypto assets eligible for investment and the interest

          rates offered to Gemini Earn investors on its website as well as in Gemini’s mobile application.

          More than 50 crypto assets were eligible to be invested in the Gemini Earn program, including

          Bitcoin, Ether, USD Coin, and Dogecoin.

                  25.     As of October 2022, the net interest rate offered to Gemini Earn investors ranged

          from 0.45% to 8.05%, while Gemini’s Agent Fee ranged from 0.06% to 4.29%, depending on the

          type of crypto asset tendered to Genesis. For the three months ended March 31, 2022, Gemini

          received approximately $2.7 million in Agent Fees from the Gemini Earn program.

                  26.     The Gemini Earn Agreement provided that the crypto asset transactions were “open

          term” unless otherwise specified, and Gemini Earn investors could terminate all, or a portion, of

          their investment in Gemini Earn at any time with no withdrawal fee. Under the Gemini Earn

          Agreement, Genesis was also obligated to return the invested crypto assets within three business

          days of an investor’s request for repayment to a digital wallet controlled by Gemini, and Gemini

          would then transfer the crypto assets and any accrued interest to the investor’s Gemini account

          where the assets and interest would be available for withdrawal. The Gemini Earn Agreement also

          provided that Genesis was responsible for repaying the crypto assets and all accrued interest to the

          Gemini Earn investors.




                                                             7
                                                         7 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                               INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 11 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




          II.    GEMINI AND GENESIS SOLICITED INVESTMENTS IN THE GEMINI EARN
                 PROGRAM

                 27.     Genesis and Gemini both touted the profits investors could earn by investing their

          crypto assets with Genesis through the Gemini Earn program.

                 28.     In numerous communications, Gemini promoted the profit that investors could earn

          through the Gemini Earn program, and described the opportunity as an investment.

                 29.     For example, in a February 2021 press release launching Gemini Earn, Gemini

          CEO Tyler Winklevoss stated, “We designed a program that allows our customers the ability to

          generate a real return on their crypto holdings.”

                 30.     On February 27, 2021, Gemini also posted a video on YouTube titled, “Invest

          Better with Gemini Earn.”

                 31.     On its website, Gemini described how users would earn interest, noting, “We are

          excited to launch Gemini Earn and offer more opportunities for you to grow your portfolio and

          earn yield.” Similarly, Gemini advertised on its website that investors could “[p]ut your crypto to

          work. With Gemini Earn, you can receive up to 8.05% APY on your cryptocurrency,” and listed

          the interest rate that investors could earn for each eligible crypto asset.

                 32.     Gemini also published tweets on Twitter, including on May 26, 2021, promoting

          the high interest rates offered via Gemini Earn, with statements such as the following:




                                                              8
                                                         8 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                                INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 12 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




                 33.     Gemini repeatedly described Gemini Earn as an investment on its website. For

          example, in an FAQ entitled, “What are the risks of Gemini Earn?”, Gemini included this

          description:

                         Cryptocurrency, like many assets, can be volatile and subject to
                         price swings. There is always a risk in investing, and each customer
                         needs to assess their own risk tolerance before making any
                         investment decisions. Our partners in Gemini Earn have an
                         obligation to return funds according to the terms of their loan
                         agreement. However, Gemini Earn customers (the lenders) always
                         assume some level of risk when they decide to lend their funds. We
                         believe Gemini Earn gives our retail investors another way to stay
                         long-term in the asset class and have the option to invest and earn
                         interest, all on the Gemini platform.

          (emphasis added).

                 34.     Gemini’s website also claimed that Gemini Earn investors could “receive more than

          100x the average national interest rate, among the highest rates on the market” and that Gemini

          Earn “offer[s] more flexibility than other yield-generating cryptocurrency investments.”

                 35.     Additionally, Gemini’s website featured a calculator that allowed a user to select a

          deposit amount, crypto asset type, and a time frame to see how much interest could be earned by

          tendering crypto assets through Gemini Earn. The calculator would reveal the projected amount of

          interest that could be earned by investing the investor’s crypto assets for a period between one and

          four years.

                 36.     Genesis similarly advertised on its public website that “[h]olders of digital

          currencies can earn yield on their assets by lending directly to Genesis.” Genesis also published

          tweets on Twitter highlighting its partnership with Gemini and the yield that Gemini Earn investors

          could earn. For example, on February 2, 2021, Genesis published a tweet stating, “Genesis is

          dedicated to building and partnering to lower barriers to digital asset markets.”




                                                           9
                                                       9 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                                 INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 13 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




          III.   GENESIS’S DEPLOYMENT OF THE CRYPTO ASSETS INVESTED UNDER
                 THE GEMININ EARN PROGRAM

                 37.     Genesis pooled on its balance sheet the crypto assets that it received from the

          Gemini Earn investors and other investors, and in practice did not segregate the crypto assets it

          received from different groups of investors. Genesis retained possession and control over the

          investors’ crypto assets on its balance sheet, and determined how much to hold, lend out to others,

          and otherwise use the assets. Genesis exercised its discretion over how to use investors’ crypto

          assets to generate revenue for its business and to pay the interest rates it promised Gemini Earn

          investors and other investors. The Gemini Earn Agreement did not contain any explicit terms

          restricting how investors’ crypto assets would be used by Genesis.

                 38.     Generally, Genesis deployed the Gemini Earn investors’ crypto assets by either

          lending them to Institutional Borrowers or using the assets as collateral for Genesis’s own

         borrowing. Crypto assets not loaned to Institutional Borrowers or used for collateral were held by

         Genesis on its balance sheet in order to provide Genesis with liquidity to meet potential demand

         for loans as well as to repay the investors in its crypto asset program, including Gemini Earn.

         Genesis also had the ability to loan the crypto assets to related parties, including its parent company,

          DCG (as described further below, ¶¶ 82-83).

                 39.     When deploying the crypto assets from Gemini Earn investors, Genesis employed

          its discretion and judgment in determining the terms of its loans to Institutional Borrowers. For

          example, Genesis conducted due diligence on the Institutional Borrowers before entering into a

          transaction. Genesis negotiated an initial agreement with each Institutional Borrower, and then

          individually negotiated the terms (including the type of crypto assets to be lent, interest rate,

         duration of the loan, and collateral, if any) of every subsequent lending transaction. Genesis




                                                           10
                                                       10 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                                INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 14 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




          separately evaluated each Institutional Borrower, as well as market conditions, when determining

          collateral rates.

                  40.     In this manner, Gemini Earn investors relied on Genesis’s skill and expertise in

         pooling the invested crypto assets and deploying those assets, including Genesis’s evaluation of

         the Institutional Borrowers, negotiation of favorable terms, and management of market and

         counterparty risk. When Genesis loaned crypto assets it received through the Gemini Earn program,

         the assets were transferred to the Institutional Borrowers and left Genesis’s balance sheet.

         Ultimately, the returns of Gemini Earn investors were dependent on Genesis’s managerial efforts

         and risk management in its lending activities.

                  41.     The interest income that Genesis received from lending crypto assets to Institutional

          Borrowers was used to generate revenue for Genesis and to pay the promised interest to Gemini

         Earn investors and other investors. Genesis did not have any other revenue-generating activities.

         For example, for the three months ended March 31, 2022, Genesis received approximately $169.8

         million in interest income from Institutional Borrowers and paid $166.2 million in interest to the

         investors in its crypto asset program, including Gemini Earn.

         IV.      THE GEMINI EARN PROGRAM CONSTITUTED AN OFFER AND SALE OF
                  SECURITIES UNDER THE SECURITIES ACT

                  A.      Applicable Statutory And Regulatory Framework

                  42.     Under the Securities Act, Congress enacted a legal framework mandating that

          persons who offer and sell securities to the investing public provide sufficient and accurate

         information to allow investors to make informed decisions before they invest.

                  43.     The definition of a “security” under the Securities Act includes a wide range of

          investment vehicles, including “investment contracts” and “notes.”




                                                           11
                                                       11 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                                  INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 15 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




                 B.      The Gemini Earn Program Constituted The Offer And Sale Of “Notes”
                         Securities Under Reves

                 44.     Under Section 2(a)(1) of the Securities Act, the definition of a security includes any

          “note.” See 15 U.S.C. § 77b(a)(1); see also 15 U.S.C. § 78c. A note is presumed to be a security

          unless it bears a strong resemblance to instruments that are not securities, which courts determine

          by examining four factors: (1) the motivation of the parties; (2) the plan of distribution; (3) the

          expectations of the investing public; and (4) the availability of an alternative regulatory regime

          that “significantly reduces the risk of the instrument” for investors other than the securities laws,

          “thereby rendering application of the Securities Acts unnecessary.” See Reves v. Ernst & Young,

          494 U.S. 56, 64-69 (1990). Under Reves, the Gemini Earn Agreements were notes, which were

          offered and sold through the Gemini Earn program as securities.

                 45.     Genesis offered the Gemini Earn program to obtain crypto assets for the use of its

          business – namely, to run its institutional lending activities, generate profits for itself, and to pay

          the interest promised to Genesis investors. Investors in Gemini Earn were primarily motivated by

         the profit they expected the program to generate.

                 46.     Genesis controlled the crypto assets it obtained from investors and had complete

          discretion in determining how much to hold, lend and otherwise use. Genesis used the crypto assets

          it raised from Gemini Earn investors and other investors to make loans to Institutional Borrowers

          or as collateral for Genesis’s own borrowing. Genesis also had the discretion to hold the assets on

          its balance sheet to provide Genesis with liquidity to meet potential demand for loans as well as to

          repay the investors in its crypto asset program.

                 47.     In turn, investors participated in the Gemini Earn program primarily for profit, i.e.,

         to receive a return on their crypto assets. Gemini and Genesis both touted the profits investors

         could earn by investing their crypto assets with Genesis, including by advertising Gemini Earn as




                                                             12
                                                        12 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                                   INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 16 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




          an investment and touting that investors could receive up to an 8.05% annual percentage yield on

          their crypto assets. Investors who purchased the Gemini Earn notes were led to expect that by

          tendering and giving control over their crypto assets to Genesis, they would receive profit in the

          form of interest on those assets.

                  48.     In short, Genesis intended to use the crypto assets for its business and its sole source

          of revenue, and the Gemini Earn investors were primarily motivated to earn a profit on their crypto

          assets in the form of interest.

                  49.     Genesis and Gemini publicly advertised the Gemini Earn Agreements, through

          Gemini Earn, on websites and on social media. Moreover, the Gemini Earn Agreements were

          offered and sold to any U.S. investor, including retail investors. As of November 16, 2022, there

          were approximately 340,000 retail investors, the majority of whom reside in the United States,

          who had crypto assets invested with Genesis through the Gemini Earn program. The Gemini Earn

          Agreements were offered and sold to a broad segment of the general public.

                  50.     Genesis and Gemini, through websites and social media, promoted Gemini Earn as

          an investment, specifically as a way to earn high “returns” or “yield” on investors’ crypto assets.

          Gemini repeatedly described Gemini Earn as an investment on its own website and social media,

          and repeatedly touted that the Gemini Earn interest rates were “among the highest rates on the

          market” and “higher than most existing options.” Gemini’s website further claimed that Gemini

          Earn investors could “receive more than 100x the national interest rate.” Gemini’s website also

          included a calculator that showed a user potentially how much interest they could earn by investing

          their crypto assets in the Gemini Earn program for a period between one and four years. The

          economic realities of the transaction, in which investors had an opportunity to tender crypto assets

          with Genesis in exchange for earning interest at some of the “highest rates” available for crypto




                                                            13
                                                        13 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                               INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 17 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




          assets, further underscore why the investing public considered the Gemini Earn program to be an

          investment opportunity.

                 51.     No alternative regulatory scheme or risk-reducing factors existed to protect

         investors with respect to the Gemini Earn program. In its own FAQs, Genesis noted that: “[D]igital

         assets are not covered by SIPC insurance”; “[e]stablishing a lending and borrowing relationship

         with Genesis is not the same as opening a depository account or a savings account”; and

         “[a]ccounts with Genesis do not enjoy FDIC protection.” Although Genesis has registered as a

         money services business (“MSB”) with FinCEN, the anti-money laundering and recording keeping

         and reporting requirements of an MSB – designed to prevent money services businesses from being

         used to facilitate money laundering and the financing of terrorist activities – do not provide the

         significant disclosures and other investor protections afforded by the federal securities laws.

                 52.     Similarly, although Gemini is registered with NYSDFS as a New York limited

          purpose trust company, NYSDFS does not have oversight over Genesis. Gemini publicly stated

          that Gemini Earn does not operate like a traditional bank account, is not protected by a

          governmental program, and is not backed by Gemini itself. In a February 2021 press release

          launching Gemini Earn, Gemini stated that “Gemini Earn is not a depository account. . . . Loans

          are not insured by Gemini or any governmental program or institution.” Similarly, on its website,

         Gemini noted that “Gemini Earn is structured similarly to non-deposit services offered by financial

         institutions and not insured by FDIC, SIPC, any other governmental program, or Gemini.”

                 53.     Any capital reserve requirements applicable to Gemini did not apply to Genesis or

          to the crypto assets tendered to Genesis through Gemini Earn.

                 54.     Under the terms of the Gemini Earn Agreement, Genesis was not required to post

          collateral. Gemini told investors that “[a]ll lending by you through our Program will be on an

          unsecured basis. We will not collect or hold collateral from Borrowers, nor maintain any collateral


                                                          14
                                                      14 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                               INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 18 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




          account for your benefit.” Although Genesis later provided some collateral to Gemini in August

          2022, the collateral Genesis provided to Gemini was in the form of restricted shares that could not

          be liquidated immediately and amounted to only a fraction of the total investor assets held in

          Gemini Earn.

                 55.     The lack of an alternative regulatory scheme is evidenced by the current state of

          Gemini Earn. Since November 16, 2022, investors have been unable to access their crypto assets

          or any form of collateral. Thus, any oversight of Genesis as an MSB and Gemini as a limited

          purpose trust company did not adequately reduce the risk of significant harm to Gemini Earn retail

          investors.

                 C.      The Gemini Earn Program Constituted The Offer And Sale Of “Investment
                         Contract” Securities Under Howey

                 56.     A security includes an investment contract, which is an investment of money in a

          common enterprise with a reasonable expectation of profits derived from the entrepreneurial or

          managerial efforts of others. Congress defined “security” broadly to embody a “flexible rather than

          a static principle, one that is capable of adaptation to meet the countless and variable schemes

          devised by those who seek the use of the money of others on the promise of profits.” SEC v. W.J.

         Howey Co., 328 U.S. 293, 299 (1946). According to the Supreme Court, the broad definition of

         “security” is “sufficient to encompass virtually any instrument that might be sold as an investment,”

         because “Congress’ purpose in enacting the securities laws was to regulate investments, in

         whatever form they are made and by whatever name they are called.” SEC v. Edwards, 540 U.S.

         389, 393 (2004) (citations and internal quotation marks omitted) (emphasis in original). Courts

         have found that novel or unique investment vehicles constitute investment contracts, including

         interests in orange groves, animal breeding programs, railroads, mobile phones, and enterprises

         that exist only on the internet, including crypto assets.




                                                           15
                                                       15 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                            INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 19 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




                 57.    The offer and sale of Gemini Earn Agreements through the Gemini Earn program

          constituted the offer and sale of investment contracts under Howey.

                 58.    The Gemini Earn program involved an investment of money. Between February

          2021 and November 2022, Genesis raised billions of dollars from hundreds of thousands of retail

          investors, who tendered crypto assets to Genesis through the program.

                 59.    Investors in Gemini Earn invested in a common enterprise with other investors and

          with Defendants. Specifically, Genesis pooled Gemini Earn investors’ and other investors’ crypto

          assets on Genesis’s balance sheet, and used those assets in order to generate returns for both

         Genesis and investors, including Gemini Earn investors. Genesis did not manage individual or

         separate accounts for each investor in Gemini Earn. Instead, the returns earned by each investor

         were reliant on the pooling of the invested crypto assets. As the invested crypto assets were not

         segregated in any way by Genesis, each investor’s fortune was tied to the fortunes of the other

         investors.

                 60.    Gemini Earn investors’ fortunes were also tied to Genesis’s fortunes; both Genesis

          and Gemini Earn investors earned profits when Genesis deployed the pooled assets. As part of the

          Gemini Earn Agreements, investors ceded control over their crypto assets to Genesis, who had

          complete discretion in deploying the crypto assets. Genesis, not investors, undertook various

          complex tasks of pooling Gemini Earn crypto assets, identifying Institutional Borrowers to serve

          as counterparties, negotiating individual agreements with those counterparties, and managing

          market and counterparty risk. Investors understood that Genesis would conduct due diligence on

          Institutional Borrowers and evaluate market conditions in determining the appropriate collateral

          levels. Genesis undertook these efforts in order to generate maximum profit for itself, which in

          turn determined the success of the common enterprise and the fortunes of investors in the Gemini

          Earn Program. This reliance on Genesis’s deployment of the pooled assets in a common enterprise


                                                         16
                                                     16 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                                INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 20 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




          is demonstrated by investors’ current predicament, whereby Genesis has experienced withdrawal

          requests that exceed its current liquidity, and has consequently restricted Gemini Earn investors

         from withdrawing their crypto assets and begun a restructuring process.

                 61.     From its inception, Gemini and Genesis both explicitly marketed the Gemini Earn

          program as an investment opportunity, which led investors to reasonably expect to profit from

          Genesis’s efforts. As detailed above, through their websites and social media channels, both

          Genesis and Gemini publicly touted the ability for investors to earn yield or returns via Gemini

          Earn. On its website, Gemini repeatedly described Gemini Earn as an investment; repeatedly

          touted that the Gemini Earn interest rates were “among the highest rates on the market” and that

          Gemini Earn investors could “receive more than 100x the national interest rate”; and illustrated

          how much interest Gemini Earn investors could potentially earn by investing their crypto assets

          for a period between one and four years.

                 62.     Genesis also described itself as the “premier institutional digital asset financial

          services firm,” and “the world’s largest digital asset lender” and that “[h]olders of digital

          currencies can earn yield on their assets by lending directly to Genesis, a regulated and trusted

          counterparty.” Accordingly, Gemini Earn investors were led to expect that Genesis’s efforts to

         generate investment returns would in turn result in profit for investors.

                 63.     Investors understood that, on a monthly basis, the interest rate for their Gemini Earn

          investments would be revised by Genesis, reflecting Genesis’ ongoing managerial efforts to pay

          among “the highest rates in the market.”

                 64.     The above statements and actions, and the economic reality of the Gemini Earn

          program, led reasonable investors to expect Genesis to undertake significant and essential technical,

          managerial, and entrepreneurial efforts on their behalf, and investors in the Gemini Earn program

          reasonably expected to profit from those efforts.


                                                          17
                                                       17 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                               INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 21 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




                 D.      Defendants Failed To Register With The SEC Their Offer And Sale Of
                         Securities Through The Gemini Earn Program

                 65.     Defendants offered and sold securities through the Gemini Earn program.

                 66.     Defendants have used interstate commerce to offer and sell securities through

          Gemini Earn by, among other things, engaging in general solicitation through their websites and

          other promotional materials, including social media.

                 67.     Defendants have never had a registration statement filed or in effect with the SEC

         for their offers and sales of securities through the Gemini Earn program. Nor were the securities

         subject to any exemption from registration.

                 68.     As a result, Gemini Earn investors had limited or inadequate information about

          Genesis’s operations, financial condition, liquidity, or other factors relevant in considering

          whether to invest in the Gemini Earn program. Investors also lacked full and detailed information

          regarding how Genesis deployed their crypto assets, including its exposure to volatility in crypto

         asset markets, the financial condition of Genesis’s counterparties and the amount of collateral

         Genesis obtained, if any, as part of its loans to Institutional Borrowers. In short, Gemini Earn

         investors lacked information that issuers are required to provide under the Securities Act when

         they solicit public investment.

         V.      DEFENDANT DCG IS A “CONTROLLING PERSON” UNDER THE
                 SECURITIES ACT WITH RESPECT TO GENESIS

                 69.     At all relevant times, DCG possessed, directly and indirectly, the power to direct or

          cause the direction of the management and policies of Genesis and to influence and control all

          aspects of Genesis’s operations, and in fact exercised that power throughout the Class Period.

                 70.     Genesis is one of several companies that DCG operates under the “Genesis” brand.

                 71.     At all relevant times, Genesis was a wholly owned subsidiary of DCG.




                                                          18
                                                       18 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                              INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 22 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




                 72.     During the Class Period, Genesis and DCG shared an office address at 250 Park

          Avenue South, 5th Floor, New York, New York 10003.

                 73.     During the Class Period, DCG entered into several transactions with Genesis that

         reflect DCG’s control of Genesis.

                 A.      DCG Caused Its Subsidiary Genesis To Extend $575 Million In Loans To DCG
                         On Non-Arm’s-Length And Commercially Unreasonable Terms

                 74.     DCG’s control of Genesis is reflected in the events that occurred in relation to an

          investment product, Grayscale Bitcoin Trust (“GBTC”), offered by another of DCG’s subsidiaries,

          Grayscale Investments, LLC (“Grayscale”).

                 75.     Grayscale is a subsidiary of DCG and is a digital asset management company that

          offers investment products providing exposure to the price movement of various digital currencies.

          Grayscale’s most popular investment product is GBTC, a publicly traded investment vehicle

          managed by Grayscale that provides exposure to Bitcoin’s price movements without the need to

          directly buy and hold Bitcoin itself. GBTC is traded on OTCQX, a market for over-the-counter

         securities.

                 76.     GBTC shares can be acquired in two ways: (1) anyone with a brokerage account

          can buy GBTC shares in the over-the-counter securities markets; and (2) investors can subscribe

          to the trust underlying GBTC shares (the “Trust”). Subscribing to the Trust requires a minimum

          investment of $50,000 and is available only to accredited investors. Trust subscribers receive

          GBTC shares representing the value of Bitcoin held in the Trust equal to the amount invested by

          the subscriber. GBTC shares issued via subscriptions are subject to a six-month lockup period

          during which subscribers cannot sell their shares. Once the lockup period ends, GTBC subscribers

          are free to sell their GBTC shares.




                                                         19
                                                     19 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                                  INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 23 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




                 77.     Grayscale charges a 2% management fee for its management of the Trust. As of

          December 26, 2022, GBTC had $10.6 billion assets under management, which would generate

          $200 million in fees for Grayscale (and, indirectly, its parent DGC) annually.

                 78.     Until February 2021, GBTC shares traded at a premium to the net value of the assets

          (“NAV”) held by GBTC. The premium was caused by the fact that GBTC was the only way for

          institutional investors to get regulator-approved access to Bitcoin’s price movements, which

          caused demand to exceed supply.

                 79.     Traders sought to exploit the existence of the premium by subscribing to the Trust

          and selling their GBTC shares at a premium once the six-month lockup period expired. This trade,

         known as the “Grayscale Trade,” was extremely successful, and it became a cornerstone of the

         digital asset investing strategies of many digital asset-focused hedge funds and lending firms.

                 80.     However, commencing in approximately February 2021, GBTC stopped trading at

          a premium to its underlying NAV. What was once a premium to NAV began to reverse, and now

         became a discount. By late 2021 and throughout 2022, the discount of the price of GBTC shares

          relative to GBTC’s NAV continued to increase. For example, on November 30, 2021, GBTC

         shares were trading at a 12.05% discount to the Trust’s NAV. By November 16, 2022, GBTC

          shares were trading at a 39.29% discount to the Trust’s NAV.

                 81.     The steady decline in GBTC’s price caused financial stress on DCG, the parent of

          Genesis. Specifically, it decreased the attractiveness of GBTC as an investment, thereby

          decreasing the management fees that DCG (through Grayscale) stood to earn from managing the

         Trust. The decrease in price of GBTC also decreased the value of the GBTC shares that DCG held

         on its balance sheet and that DCG itself used as collateral in financing transactions.

                 82.     To alleviate this financial pressure, DCG caused its subsidiary Genesis to execute

          a number of non-arm’s-length and commercially unreasonable loan transactions. Under these loans,


                                                          20
                                                      20 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                                  INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 24 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




          Genesis loaned a total of approximately $575 million to DCG, consisting of a loan to DCG in the

         principal amount of approximately $200 million due on May 9, 2023, a loan to DCG in the

         principal amount of approximately $300 million due on May 11, 2023, and a loan to an affiliate of

          DCG in the principal amount of 4,550.45 Bitcoin (valued at approximately $75 million) due on

          May 11, 2023. DCG used the $575 million, in part, to purchase more GBTC shares, hoping that

         GBTC shares would suddenly reverse their price trend and appreciate.

                 83.     In a note to shareholders of DCG sent on November 22, 2022 (“November 22, 2022

          Note”), Barry Silbert, the founder and CEO of DCG, stated that, “[f]or those unaware, in the

          ordinary course of business, DCG has borrowed money from Genesis Global Capital in the same

          vein as hundreds of crypto investment firms.” Silbert claimed that the loans in the amount of $575

          million were “used to fund investment opportunities and to repurchase DCG stock from non-

          employee shareholders.”

                 B.      In The Summer Of 2022, DCG Entered Into A Transaction With Genesis To
                         Facilitate Genesis’s Efforts To Conceal Its Insolvency

                 84.     One of the most significant impacts of the widening GBTC discount was the

          impact on hedge funds who had borrowed extensively and were over-leveraged against the value

          of their assets, including GBTC shares.

                 85.     One of the most prominent and prolific borrowers was digital asset investment firm

          Three Arrows Capital (“3AC”), who at one point had over $10 billion assets under management.

         In June 2022, facing margin calls from several lenders due to declining digital asset prices, 3AC

         became unable to meet its liabilities. On June 27, 2022, 3AC was ordered by a British Virgin

         Islands court to liquidate its assets after defaulting on several debts and being sued by its creditors.

         On July 1, 2022, 3AC filed for Chapter 15 bankruptcy protection in the United States Bankruptcy

         Court for the Southern District of New York.




                                                           21
                                                       21 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                                    INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 25 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




                  86.     3AC’s bankruptcy filings revealed 3AC owed Genesis $2.3 billion, and that 3AC

          possessed assets which at the time were generously valued at approximately $1 billion.

                  87.     Because 3AC also owed other creditors billions of dollars, it was immediately clear

          that Genesis would not recover any amount close to the $2.3 billion that it was owed by 3AC. This

          should have resulted in an immediate recognition of a substantial impairment of the 3AC debt on

          Genesis’s books equal to nearly the full $2.3 billion.

                  88.     Instead, Genesis improperly maintained that 3AC’s $2.3 billion debt to Genesis was

          still worth $1.1 billion. To maintain this fiction, Genesis then “sold” its rights under the $1.1 billion

          debt to its parent company, DCG, in exchange for a promissory note for $1.1 billion due in 10

          years. As later described by DCG CEO Silbert in the November 22, 2022 Note, “DCG stepped in

          and assumed certain liabilities from Genesis related to the Three Arrow Capital default.”

                  89.     DCG’s assumption of the $1.1. billion debt from Genesis was not an arm’s-length

          transaction. No independent party negotiating at arm’s-length with Genesis at that time would have

          valued 3AC’s debt to Genesis at $1.1 billion. The loan to 3AC was uncollectable.

                  90.     The purpose of the above debt acquisition by DCG was to conceal the fact that

          Genesis had improperly and imprudently loaned billions of dollars to 3AC and that 3AC’s

          bankruptcy had caused the value of Genesis’s own liabilities to its creditors to exceeds its assets,

          i.e., that Genesis itself had become insolvent. As a result of this sham transaction, DCG was able

         to facilitate Genesis’s continued operations and its continued receipt of investments from Gemini

          Earn investors pursuant to the Gemini Earn Agreement. Specifically, this transaction allowed

          Genesis to (falsely) represent, pursuant to Section 5 of the agreement, that it was still solvent, and

          that “there are no proceedings pending or, to its knowledge, threatened, which could reasonably

          be anticipated to have any adverse effect on the transactions contemplated by this Agreement or

          the accuracy of the representations and warranties hereunder or thereunder.”


                                                             22
                                                         22 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                               INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 26 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




                  91.     As part of these efforts to facilitate Genesis’s continued operations, including its

          receipt of investments from Gemini Earn investors, on July 6, 2022, then-CEO of Genesis, Michael

          Moro, posted a tweet stating: “DCG has assumed certain liabilities of Genesis related to [3AC] to

          ensure we have the capital to operate and scale our business for the long-term.” This statement was

          misleading because, in reality, DCG had not ensured that Genesis had the “capital to operate.”

          Under the $1.1 billion promissory note transaction, DCG did not inject any new capital or liquidity

          into Genesis. Instead, the entire transaction was merely designed to create the impression that

          Genesis was still solvent. Although DCG was tagged in the Twitter post, no representative of DCG

         took any affirmative steps to correct the misstatement.

                  92.     Within Genesis and DCG, multiple employees repeated the same messaging

          concerning the effect of DCG’s $1.1 billion promissory note transaction. For example, also on July

          6, 2022, Matthew Ballensweig, Genesis’s then-Head of Trading and Lending, emailed a document

          titled “Three Arrows Post-Mortem” to multiple Gemini employees, who were responsible for

          managing aspects of the Earn program. The section of this document labeled “Key Facts” stated:

          “Losses predominantly absorbed by and netted against DCG balance sheet, leaving Genesis with

          adequate capitalization to continue [Business As Usual].”

                                         CLASS ACTION ALLEGATIONS

                  93.     Plaintiff brings this action as a class action pursuant to N.Y. C.P.L.R. § 901, on

          behalf of the Class, who invested in the “Gemini Earn” program offering (the Offering) conducted

          between approximately February 2021 and November 2022 (the Class Period), and who were

          damaged thereby. Excluded from the Class are Defendants and their families; the officers, directors

         and affiliates of Defendants, and the members of their immediate families; and Defendants’ legal

          representatives, heirs, successors or assigns, and any entity in which Defendants have or had a

          controlling interest.



                                                           23
                                                       23 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                                 INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 27 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




                    94.   The members of the Class are so numerous that joinder of all members is

          impracticable. While the exact number of Class members is unknown to Plaintiff at this time and

          can be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds

          of thousands of members in the proposed Class. The members of the Class may be identified from

          records maintained by Defendants and may be notified of the pendency of this Action.

                    95.   Plaintiff’s claims are typical of the Class because Plaintiff’s and the Class members’

          claims and damages arise from the same illegal Offering.

                    96.   Plaintiff will fairly and adequately protect the interests of the members of the Class

          and have retained counsel competent and experienced in class and securities litigation. Plaintiff

          has no interests antagonistic to, or in conflict with, those of the Class.

                    97.   There are questions of law and fact common to the Class which predominate over

          any questions affecting only individual Class members. Among the questions of law and fact are:

                          a. whether investments in the Gemini Earn program constituted securities under

                             the Securities Act;

                          b. whether the Offering was an illegal, unregistered securities offering that

                             violated the Securities Act;

                          c. whether Defendant DCG was a controlling person vis-à-vis Genesis; and

                          d. to what extent the members of the Class have sustained damages.

                    98.   A class action is superior to all other available methods for the fair and efficient

          adjudication of this controversy because joinder of all members is impracticable. Furthermore, as

         the damages suffered by individual Class members may be relatively small, the expense and

          burden of individual litigation make it impossible for members of the Class to individually redress

          the wrongs done to them. There will be no difficulty in the management of this action as a class

          action.


                                                            24
                                                        24 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                                 INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 28 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




                                                CAUSES OF ACTION

                                             COUNT I
                   VIOLATION OF SECTIONS 5 AND 12(a)(1) OF THE SECURITIES ACT
                                    (Against Defendant Gemini)

                 99.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

          paragraphs as if fully set forth herein.

                 100.    This Count is brought pursuant to Sections 5 and 12(a)(1) of the Securities Act, 15

          U.S.C. §§ 77e and 77l(a)(1), against Defendant Gemini.

                 101.    The investments in the Gemini Earn program are securities within the meaning of

          Section 2(a)(1) of the Securities Act, 15 U.S.C. § 77b(a)(1).

                 102.    Defendant Gemini promoted, offered, solicited offers to buy, and/or sold securities

         in the Offering.

                 103.    No Defendant or other person filed with the SEC a registration statement for the

         offer and sale of the securities offered and sold through the Offering, no registration statement was

          in effect at the time of the Offering, and no exemption to the registration requirement was available.

                 104.    Defendant Gemini used the instrumentalities of interstate commerce in connection

         with the offer and sale of the securities.

                                               COUNT II
                            VIOLATION OF SECTION 15 OF THE SECURITIES ACT
                                        (Against Defendant DCG)

                 105.    Plaintiff repeats and realleges each and every allegation contained in the foregoing

          paragraphs as if fully set forth herein.

                 106.    This Count is asserted against Defendant DCG under Section 15 of the Securities

          Act, 15 U.S.C. § 77o.




                                                           25
                                                       25 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                                 INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 29 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




                 107.      Non-party Genesis violated Sections 5 and 12(a)(1) of the Securities Act, 15 U.S.C.

          §§ 77e and 77l(a)(1) by selling investments in the Gemini Earn program, which are securities

          within the meaning of Section 2(a)(1) of the Securities Act, 15 U.S.C. § 77b(a)(1).

                 108.      Defendant DCG, by virtue of its offices, directorships, stock ownership, agency,

         agreements or understandings, and specific acts was, at the time of the wrongs alleged herein, and

         as set forth herein, a controlling person vis-à-vis Genesis, within the meaning of Section 15 of the

         Securities Act.

                 109.      DCG possessed and possesses, directly or indirectly, the power to direct or cause

          the direction of the management and policies of Genesis, through the ownership of voting

          securities, its offices and directorships, by contract, subscription agreement, or otherwise.

                 110.      In addition to possessing this power and influence over Genesis, DCG in fact

          exercised this power and influence to cause the unlawful offer and sale of the securities as

         described herein.

                 111.      In addition, DCG was a culpable participant in the violation of the Securities Act

         resulting from the failure to register the Offering. Among other actions, DCG entered into a $1.1

         billion promissory note transaction with Genesis to allow Genesis to continue to mislead its

         investors, including investors in the Gemini Earn program, that Genesis was still solvent. As a

         result of this conduct, DCG facilitated the continued sale by Genesis of unregistered securities

         through the Gemini Earn program.

                 112.      By virtue of the conduct alleged herein, DCG is liable for the wrongful conduct

          complained of herein and is liable to the Class for rescission and/or damages suffered.




                                                           26
                                                       26 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                             INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 30 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




                                           PRAYER FOR RELIEF

               WHEREFORE, Plaintiff prays for relief and judgment as follows:

               A.     Declaring that this action is properly maintainable as a class action under N.Y.

                      C.P.L.R. § 901, certifying Plaintiff as class representative, and appointing his

                      counsel HGT Law and Restis Law Firm, P.C. as Co-Class Counsel;

               B.     Declaring that Defendants offered and sold unregistered securities in violation of

                      Sections 5, 12(a)(1) and 15 of the Securities Act;

               C.     Awarding Plaintiff and the members of the Class the remedy of rescission of their

                      investment in the Offering, and/or awarding compensatory damages in favor of

                      Plaintiff and the Class against all Defendants, jointly and severally, for all damages

                      sustained as a result of Defendants’ wrongdoing, in an amount to be proven at trial,

                      including pre-judgment and post-judgment interest thereon;

               D.     Awarding Plaintiff and other members of the Class their reasonable costs and

                      expenses incurred in this action, and their attorneys’ fees and expert fees;

               E.     Awarding such equitable/injunctive or other relief as the Court may deem just and

                      proper, including permitting any putative Class members to exclude themselves by

                      requesting exclusion through noticed procedures; and

               F.     Awarding Plaintiff and the other members of the Class such other and further relief

                      as the Court may deem just and proper.

                                               JURY DEMAND

               Plaintiff hereby demands a trial by jury.




                                                           27
                                                    27 of 28
FILED: NEW YORK COUNTY CLERK 02/22/2023 12:00 PM                                   INDEX NO. 151710/2023
NYSCEF DOC. NO. 2Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 31 of 33
                                                                      RECEIVED  NYSCEF: 02/22/2023




          DATED: February 22, 2023

                                                     HGT LAW

                                                      /s/ Hung G. Ta
                                                     Hung G. Ta, Esq.
                                                     JooYun Kim, Esq.
                                                     Natalia D. Williams, Esq.
                                                     250 Park Avenue, 7th Floor
                                                     New York, New York 10177
                                                     Tel: (646) 453-7288
                                                     Fax: (646) 453-7289
                                                     Email: hta@hgtlaw.com
                                                             jooyun@hgtlaw.com
                                                             natalia@hgtlaw.com

                                                     William R. Restis, Esq.
                                                     RESTIS LAW FIRM, P.C.
                                                     402 West Broadway, Suite 1520
                                                     San Diego, CA 92101
                                                     Tel: (619) 270-8383
                                                     Email: william@restislaw.com

                                                     Attorneys for Plaintiff and
                                                     Proposed Class Counsel




                                                28
                                             28 of 28
FILED: NEW YORK COUNTY CLERK 02/27/2023 09:56 AM                                                                                                                                  INDEX NO. 151710/2023
NYSCEF DOC. NO. 3Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 32 of 33
                                                                      RECEIVED  NYSCEF: 02/27/2023




          SUPREME                     COURT             OF         THE         STATE               OF   NEW YORK
          COUNTY                     OF     NEW YORK

          TOBIAS               MOELLER-BERTRAM                                                                 )
          individually,                and    on    behalf          of   all    others                         )            Index        No.      151710/2023

          similarly           situated.                                                                        )
                                                                                                               )
                                                       Plaintiff.                                              )            CLASS              ACTION
                                                                                                               )
                        v.                                                                                     )
                                                                                                               )            AFFIDAVIT                  OF      SERVICE
          GEMINI               TRUST           COMPANY,                        LLC;      and                   )
          DIGITAL               CURRENCY                      GROUP,              INC.                         )

                                                                                                               )
                                                       Defendants.                                             )
                                                                                                               )


          STATE               OF      NEW YORK                                           )
                                                                                         ) ss:
          COUNTY                     OF     NEW YORK                                     )


          I. TIENHSIA                     TANG.         being        duly        sworn.          deposes           and    says:



                          I am        not    a party         to this       action.           I am     over     18 years           of    age     and    my     business          address        is HGT

                                                             7d'
          Law,         250      Park        Avenue,                 Floor,        New         York.          New     York            10177.      On    February          23,     2023,     I served:


          (1)    the    SUMMONS;                      (2)    the    COMPLAINT                       FOR       VIOLATION                       OF THE         FEDERAL              SECURITIES


          LAWS:               and     (3)    the      NOTICE               OF         ELECTRONIC                     FILING             on     GEMINI           TRUST              COMPANY,


          LLC,          by     personally             delivering               a true        and    correct         copy        of     the     aforementioned             documents             to     the


          registered             agent,        CT       CORPORATION                              SYSTEM              at    28        Liberty       Street,      New       York,          New     York


          10005.          The        name      of     the     individual              accepting          service          is Carlos            Bobe,    who     is the         Intake     Specialist


          at CT        CORPRATION                           SYSTEM.



                                                                                                                         TIENHSIA                 ANG


          Sworn         to before            me this

          day     of          T"f6                                   .2023




                                                                                   ARTHUR        MULLAKANDOV
          Notary          P     bl
                                                                                Notary Public.     State of New York
                                                                                  Registration    #01MUG341246
                                                                                  Qualified    In Queens    C   nty
                                                                                Commission      Expires




                                                                                                        1 of 1
FILED: NEW YORK COUNTY CLERK 02/27/2023 09:56 AM                                                                                                                                      INDEX NO. 151710/2023
NYSCEF DOC. NO. 4Case 1:23-cv-02027-LJL Document 1-1 Filed 03/09/23 Page 33 of 33
                                                                      RECEIVED  NYSCEF: 02/27/2023




          SUPREME                   COURT                    OF      THE         STATE              OF    NEW YORK
          COUNTY                   OF     NEW YORK

          TOBIAS              MOELLER-BERTRAM,                                                                   )
          individually,               and     on        behalf        of   all    others                         )           Index           No.     151710/2023

          similarly           situated,                                                                          )
                                                                                                                 )
                                                         Plaintiff.                                              )           CLASS                 ACTION
                                                                                                                 )
                        v.                                                                                       )
                                                                                                                 )           AFFIDAVIT                     OF      SERVICE
          GEMINI              TRUST               COMPANY,                       LLC;         and                )
          DIGITAL               CURRENCY                          GROUP,            INC.                         )
                                                                                                                 )
                                                         Defendants.                                             )
                                                                                                                 )


          STATE              OF     NEW YORK                                              )
                                                                                          ) ss:
          COUNTY                   OF     NEW YORK                                        )


          I, TIENHSIA                   TANG,             being        duly        sworn.           deposes      and       says:


                         I am      not      a party            to this      action.           I am      over     18 years             of    age     and    my     business          address        is HGT

                                                               702
          Law.         250     Park       Avenue.                     Floor,        New         York.          New    York            10177.        On     February          23,     2023,     I served:


          (1)    the    SUMMONS;                       (2)     the    COMPLAINT                       FOR       VIOLATION                         OF THE        FEDERAL               SECURITIES


          LAWS;              and   (3)      the        NOTICE              OF ELECTRONIC                         FILING                on        DIGITAL          CURRENCY                    GROUP,

          INC.         by     personally               delivering              a true         and     correct        copy        of        the    aforementioned              documents             to     the


          registered            agent,        CT         CORPORATION                                SYSTEM            at    28        Liberty         Street,      New        York,          New     York


          10005.         The       name           of    the    individual               accepting          service         is Carlos              Bobe.     who     is the         Intake     Specialist


          at CT        COPORATION                             SYSTEM.



                                                                                                                       TIF                   IA     TANG

                                                                           &
          Swom          to before           me this            3
          day     of                                                  . 2023




          Notary         Publ
                                                                                    ARTHUR        MULLAKANDOV
                                                                                 Notary Public. State of New York
                                                                                   Registration    #01MU6341246
                                                                                   Qualified    In Queens   Co
                                                                                 Commission      Expires
                                                                                                                ty                                                    C/

                                                                                                         1 of 1
